Case 1:17-cv-02187-R.]L Document 59 Filed 01/04/18 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

BEAN LLC d/b/a FUSION GPS,

Plaintiff,
v. Civil Action No. 17-2187 (RJL)
JOHN DOE BANK,
Defendant,
and

JAN ~‘l 2018

Clerk, U.S. District & Bankruptcy
Courts for the District of Co|umbia

PERMANENT SELECT COMMITTEE
ON INTELLIGENCE OF THE
UNITED STATES HOUSE OF
REPRESENTATIVES,

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Intervenor.

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January£, 2018 [Di<t. #23]
THIS CASE comes before the Court upon plaintiffs Motion for a Preliminary
lnjunction [Dkt. #23].'
UPON CONSIDERATION of the Motion, oral argument, the pertinent portions

of the record, and being otherwise fully advised on the matter, it is hereby

 

' As discussed in the accompanying Memorandum Opinion, plaintiff originally filed both an Application
for a Temporary Restraining Order and a l\/lotion for a Preliminary Injunction. See Pl.’s Renewed Appl.
for TRO & Mot. for Prelim. lnj. [Dkt. #23]. But during a motions hearing in this case on November 15,
2017, l consolidated plaintiff’s motions into a Motion for a Preliminary Injunction. See Motions Hr’g Tr.
6:16~24, 7:2-6, November 15, 2017 [Dkt. #41].

Case 1:17-cv-O2187-R.]L Document 59 Filed 01/04/18 Page 2 of 2

ORDERED that, for the reasons stated in the accompanying Memorandum
Opinion, the Motion is DENIED.
THIS IS A FINAL, APPEALABLE ORDER.

so oRDERED. °

 

RICHARD ,ON
United States District Judge

